214 F.2d 487
    UNITED MINE WORKERS OF AMERICA and United Mine Workers of America, District 28, Appellants,v.C. C. LAMBERT, C. H. Lambert, M. G. Lambert and Elmer Lambert, Partners d/b/a Low Gap Coal Company, Appellees.
    No. 6798.
    United States Court of Appeals Fourth Circuit.
    Argued June 15, 1954.
    Decided July 16, 1954.
    
      Stuart B. Campbell, Wytheville, Va., and Harrison Combs, Washington, D. C. (Stuart B. Campbell, Jr., Wytheville, Va., on brief), for appellants.
      Robert T. Winston, Jr., and Fred B. Greear, Norton, Va. (Greear, Bowen, Mullins &amp; Winston, Norton, Va., on brief), for appellees.
      Before PARKER, Chief Judge, and SOPER and DOBIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from a judgment for $100,000 actual damages and $50,000 punitive damages in an action brought in the court below under the provisions of the Labor-Management Relations Act, 29 U.S.C.A. § 141 et seq. The questions involved are substantially the same as those which were before us in United Mine Workers v. Patton, 4 Cir., 211 F.2d 742, a companion case arising out of the same labor controversy and tried before the same judge. The case now before us was tried before our opinion in that case was handed down. We hold, as in that case, that there was sufficient evidence to take the case to the jury, that punitive damages were not recoverable and that there was the same prejudicial error in the charge of the court on the issue of actual damages. There is some difference in the nature of the evidentiary questions presented, but it is not necessary to go into these as they will probably not arise on the rehearing of the case in the light of what we had occasion to say in the opinion in the Patton case. On the basis of our opinion in that case, the judgment appealed from will be reversed and the case will be remanded for a new trial.
    
    
      2
      Reversed.
    
    